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                                                                  Zia M. Faruqui
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                                   STATEMENT OF FACTS
        Your affiant,                         is a Special Agent with the FBI assigned to
Richmond/Winchester, Virginia area. In my duties as a special agent, I investigate a variety of
cases including but not limited to Civil Rights, Bank Robberies, Financial Crimes, Violent Crimes,
and am also a part of the I-81 Human Trafficking and Crimes Against Children Task Force.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a special agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                     Identification of Adkins at the Capitol on January 6

        ADKINS sent messages to Facebook friends, relating to the riot at the Capitol in
Washington D.C. on January 6, 2021, which were obtained by the FBI. Image 1, below, is a
screenshot taken from a message that ADKINS sent to a friend on Facebook detailing ADKINS’
plans for his trip to Washington D.C. on January 6, 2021, and offering the friend a ride.




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     Image 1 - ADKINS’ Facebook messages about traveling to Washington, D.C.




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       On or about January 6, 2021, ADKINS travelled to Washington D.C. from Stephens City,
Virginia.

       On January 6, 2021, after attending the former President’s rally at the Ellipse, ADKINS
walked to the U.S. Capitol and entered. Open-source video, Closed Circuit Video from the U.S.
Capitol building, and pictures and video that ADKINS sent through social media while he was in
the U.S. Capitol building confirm his presence inside.

        In the images ADKINS sent while he was inside the U.S. Capitol building, ADKINS wore
a black ball cap with gold leaves on the bill and the word "CHUCK" on the front, sunglasses, a
grey jacket, a scarf, dark pants, and a backpack with two small American flags on the sides. Image
2, below, is an image that ADKINS sent to one of his friends on Facebook on January 6, 2021.




       Image 2 – Photograph sent by ADKINS to a Facebook friend from the Capitol

        During an interview with the FBI, ADKINS said that he went to Washington D.C. on
January 6, 2021, to hear then-President Donald Trump speak. He admitted that he walked with a
large group to the U.S. Capitol. He claimed that there were no barriers when he arrived at the U.S.
Capitol but admitted that he saw people scuffling with police and heard loud noises that he believed
were flashbang detonations outside the U.S. Capitol building. He would not talk about his actions
inside the U.S. Capitol building. ADKINS said that he had traveled to Washington, D.C. a few
times prior to January 6, 2021, to act as an escort for persons associated with the Oath Keepers,
specifically in November or December of 2020. ADKINS said that he communicated with an
Oath Keeper on January 6, 2021, through the Signal cellular phone application.

       ADKINS was captured in open-source videos taken inside the U.S. Capitol building on
January 6, 2021 One image of ADKINS appeared in the Winchester Star newspaper identifying

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ADKINS’ as a publicly elected member of the Frederick County School Board who was present
at the Capitol. In open-source images ADKINS wore the same “CHUCK” hat, sunglasses, scarf,
and grey jacket as he did in the pictures that ADKINS sent through Facebook to friends with the
message that he was inside the Capitol on January 6. The FBI compared Image 3, below, from a
Winchester Star news article 1; Image 4, below, from open-source video, and Image 5, below,
attached to a message ADKINS sent through Facebook to a friend on January 6, 2021, indicating
that he had been inside the Capitol.




   Image 3                                Image 4                                   Image 5
Winchester Star                       Open-Source Video                        Facebook message




            Images 6 and 7 are Facebook messages between ADKINS and a Facebook friend
               indicating that ADKINS had been inside the U.S. Capitol building.



1
 ADKINS. URL: https://www.winchesterstar.com/winchester star/school-board-member-declines-to-comment-
on-1-6-allegations/article f7403db8-30f8-540d-88ad-3138b22d88eb.html; last visited, December 13, 2023

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                                   ADKINS’ Actions at the Capitol

        ADKINS approached the Capitol from the West Front and made his way up the Northwest
Stairs to the Upper West Terrace after police lines were breached.




               Image 8 – ADKINS (yellow circle) ascending the Northwest stairs

       At approximately 2:15 p.m., within minutes of the first breach of the U.S. Capitol building,
while congresspeople were still evacuating, ADKINS entered the U.S. Capitol building through
the Senate Wing Door.




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           Image 9 – ADKINS (yellow circle) entering through the Senate Wing Door

       ADKINS walked inside of the U.S. Capitol building and proceeded toward the Senate side.
As ADKINS walked around in the U.S. Capitol building, he came into close proximity to police
defending the building.




                Image 10 – ADKINS (yellow circle) in close proximity to police

        ADKINS returned to the Senate Wing Door lobby and waived rioters who were outside
into the building. He then helped an individual enter the U.S. Capitol building through a broken
window next to the Senate Wing Door.

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 Image 11 – ADKINS (yellow circle) helping a rioter enter through a broken window next to the
                                     Senate Wing Door

       At approximately 2:23 p.m., ADKINS and the individual he helped through the window
turned and walked toward the Crypt.




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       Image 12 – ADKINS (red circle) in Senate Wing door lobby walking toward Crypt

        At approximately 2:29 p.m., ADKINS moved toward a first-floor exit west of the Crypt,
the Law Library door, but turned around and did not exit. In the area of the Law Library door,
ADKINS was holding a large, canned beverage. In a social media message, ADKINS corroborated
his identity and actions inside the U.S. Capitol building by bragging that he drank a Coors Lite
beer in the U.S. Capitol building.




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Image 13 – ADKINS discussing his actions and drinking alcohol in the U.S. Capitol building




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      Image 14 – ADKINS (red oval) near Law Library Door exit with a canned beverage

       At approximately 2:30 p.m., ADKINS went down a set of stairs inside of the U.S. Capitol
building that lead from the Crypt to the Visitor Center. ADKINS was still holding a canned
beverage at this point.




   Image 15 – ADKINS (red circle) descending stairs to Visitor Center with canned beverage

        At approximately 2:31 p.m., ADKINS circled around the Upper Orientation Lobby in the
Visitor Center. At approximately 2:43 p.m., ADKINS talked to other individuals in the Upper
Orientation Lobby near where a confrontation with the police was occurring.



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         Image 16 – ADKINS (red oval) with rioters confronting police in background

      At approximately 2:45 p.m., ADKINS can be seen walking back toward the stairs he came
down next to an individual carrying a large flag.




Image 17 – ADKINS (red oval) walking back toward stairs that lead from Visitor Center to Crypt




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       At approximately 3:18 p.m., ADKINS walked around the Crypt, took pictures with his
phone camera, and danced around in the middle of a group. He appeared to be yelling and
chanting. ADKINS placed items on the base of one of the statues and left them there when he
walked away.




           Image 18 - screenshot taken from open-source video of Adkins in the Crypt

       At approximately 3:33 p.m., ADKINS left the U.S. Capitol building through the Memorial
Door. Upon exiting, ADKINS can be heard yelling "Let's go get a beer, let’s go get a beer!"




    Image 19- screenshot from open-source video showing ADKINS leaving the U.S. Capitol building

                                       Statutory Violations

       Based on the foregoing, your affiant submits that there is probable cause to believe that
ADKINS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted


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building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that ADKINS violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




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                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 23rd day of February 2024.




                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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